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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                 CENTRAL DIVISION
                                    (at Lexington)

  RONTAVEUS WALKER, individually    )
  and as administrator of the estate)
  of Rodney Walker, et al.,         )
                                    )
       Plaintiffs,                  )                      Civil Action No. 5: 20-397-DCR
                                    )
  V.                                )
                                    )
  SOUTHERN HEALTH PARTNERS, et al., )                                ORDER
                                    )
      Defendants.                   )

                                    ***    ***      ***   ***

       This matter is pending for consideration of the parties’ joint motion to amend the

Scheduling Order. [Record No. 77] The parties request two-week extensions of the October

14, 2021, discovery deadline and the October 28, 2021, dispositive and Daubert motions

deadline. They have scheduled mediation for October 25, 2021, and believe that these

extensions will allow them to conserve resources and prepare for mediation.

       The parties have received extensions of certain deadlines on two prior occasions.

[Record Nos. 42 and 55] They sought to amend the Scheduling Order a third time, which the

Court denied on July 23, 2021. [Record No. 65] The Court likewise declines to grant the

extensions sought in the parties’ most recent motion. The parties do not document any

circumstances that would prevent them from meeting the current discovery deadline.

Moreover, it is not unusual for litigants to prepare for and participate in mediation subject to

deadlines previously set in a scheduling order. Thus, the parties have not demonstrated

sufficient cause for the extensions they request.


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       Being sufficiently advised, it is hereby

       ORDERED that the parties’ joint motion to amend the Scheduling Order [Record No.

77] is DENIED.

       Dated: October 12, 2021.




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